Case 21-10629-mdc        Doc 50    Filed 01/05/23 Entered 01/05/23 15:50:16              Desc Main
                                   Document Page 1 of 1



                      UNITED STATES BANKRUPTCY COURT
                  FOR THE EASTERN DISTRICT OF PENNSYLVANIA
                               (PHILADELPHIA)

 IN RE:
                                                   CHAPTER 13

 Alessandro B. Micozzi & Kristi M. Micozzi         CASE NO.: 21-10629-mdc
        Debtors




  ORDER APPROVING THE STIPULATION RESOLVING THE MOTION FOR RELIEF
                     FROM THE AUTOMATIC STAY


                                      January 2023, it is hereby ORDERED that the
                          5th day of __________
           AND NOW, this _____

   corresponding Stipulation is hereby approved, shall be, and is hereby made an Order of this

                                             Court. BY THE COURT:



                                                      _______________________________
                                                      Magdeline D. Coleman
                                                      Chief U.S. Bankruptcy Judge

Case Administrator to mail:

Cc:    Kenneth E. West., Chapter 13 Trustee
       Debtors: Alessandro B. & Kristi M. Micozzi at 306 Harvard Avenue, Broomall, PA 19008
       Counsel for Debtor: Brad J. Sadek, Esquire,
       Counsel for Movant: Angela C. Pattison, Esquire
